Case 3:23-cv-01157-JCS Document 7

Robert Orendain, et. al., Plaintiff{s)

VS.

Tesla, Inc., et. al., Defendant(s)

MCCUNE WRIGHT AREVALO, LLP
Ms. Kelli N Williamson

Filed 03/22/23 Page 1of1

Service of Process by
APS International, Ltd.
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--Tesla, Inc.
Court Case No. 3:23-ev-01157-JCS

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that at the time of service, s/he was of legal age and was not a party to this action;

thatonthe (77 dayof ,202.3 ,at 9:45 o'clock AM

fn Ay

at 1209 Orange Street iN Wilmington, DE 19801

the undersigned served the documents described as:

Summons and Class Action Complaint; Civil Standing Orders for

Magistrate Judge Joseph C. Spero; Consenting to the Jurisdiction of a US Magistrate
Judge: Standing Order for All Judges in the Northern District of California;
Standing Order Regarding Covid 19 Procedures; Standing Order Regarding

Exhibit Tag; Order Setting Initial Case Management. Conference and ADR Deadlines
Notice of Assignment toa United States Magistrate Judge for Trial

A true and correct copy of the aforesaid document(s) was served on:
Tesla, Inc.
By delivering them into the hands of an officer or managing agent whose name and

title is: NADIA BeULAMY

The person receiving documents is described as follows:
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Approx. Age 2S __; Approx. Height SR .';

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= To the best of my knowledge and belief, said person was not engaged in the US

Military at the time of service.

Undersigned declares under penalty of
perjury aia the ye is tr my

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ee and\sworn to before me this

 

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